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17 Attorneys for Defendants

18                                  UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA

20                                          SAN JOSE DIVISION

21   INTERNATIONAL TECHNOLOGICAL                       )   Case No. 5:18-cv-06228-EJD
     UNIVERSITY FOUNDATION, INC.,                      )
22                                                     )   Hon. Edward J. Davila
                           Plaintiff,                  )
23                                                     )
             v.                                        )   STIPULATION OF DISMISSAL
24                                                     )   PURSUANT TO FED. R. CIV. P.
     CHAD F. WOLF, in his official capacity as Acting )    41(a)(1)(A)(ii)
25   Secretary of the Department of Homeland Security, )
     et al.,                                           )
26                                                     )
                           Defendants.                 )
27                                                     )

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     STIPULATION OF DISMISSAL
     CASE NO. 5:18-6228-EJD
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              Case 5:18-cv-06228-EJD Document 65 Filed 01/11/21 Page 2 of 2




 1          Plaintiff, International Technological University Foundation, Inc., and Defendants, Chad F.

 2 Wolf, in his official capacity as Acting Secretary of the Department of Homeland Security, United

 3 States of America, U.S. Department of Homeland Security, and U.S. Immigration and Customs

 4 Enforcement, Student and Exchange Visitor Program, by and through undersigned counsel, stipulate to

 5 dismissal of this action without prejudice against all Defendants pursuant to Federal Rule of Civil

 6 Procedure 41(a)(1)(A)(ii). The parties shall bear their own costs and attorney’s fees.

 7 Dated: January 11, 2021                                 MORRISON & FOERSTER LLP

 8

 9                                                         Joshua Hill Jr.
                                                           Counsel for Plaintiff
10

11 Dated: January 11, 2021                                 DAVID L. ANDERSON
                                                           United States Attorney
12
                                                            /s/ Michelle Lo
13                                                         Michelle Lo
                                                           Assistant United States Attorney
14                                                         Counsel for Defendants
15

16                                            ECF ATTESTATION
17          In accordance with Civil Local Rule 5(i)(3), I attest that concurrence in the filing of this
18 document has been obtained from the signatories.

19

20 Dated: January 11, 2021
                                                           Joshua Hill Jr.
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     STIPULATION OF DISMISSAL
     CASE NO. 5:18-6228-EJD
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